     Case 3:18-cv-00296-MMD-CLB Document 208-1 Filed 08/12/20 Page 1 of 1



 1                                      INDEX OF EXHIBITS

 2                                  Description                             Exhibit No.

 3      August 12, 2020 Martin Tripp Tweet                                      15
 4      August 12, 2020 Martin Tripp Tweet                                      16
 5      August 12, 2020 Martin Tripp Tweet                                      17
 6      August 12, 2020 Email from Jeanine Zalduendo to William Fischbach       18
        and Robert D. Mitchell
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